
34 Cal.App.2d 510 (1939)
THE PEOPLE, Respondent,
v.
W. L. SCOTT et al., Defendants; CHARLES R. SCOTT et al., Appellants. [34 Cal.App.2d 511]
Crim. No. 1690. 
California Court of Appeals. Third Appellate District.  
September 11, 1939.
 Grover C. Julian for Appellants.
 Earl Warren, Attorney-General, and J. Q. Brown, Deputy Attorney-General, for Respondent.
 The Court.
 The appellants were convicted in the Superior Court of Lassen County of the crime of burglary in the second degree, a felony.
 [1] The transcript on appeal was filed in this court June 29, 1939. No brief has been filed in behalf of appellants. The cause was regularly placed on the calendar for oral argument on September 11, 1939. No appearance was made for appellants at the time the case was called for hearing.
 Pursuant to the provisions of section 1253 of the Penal Code the judgments are affirmed.
